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                                            MINUTES



 CASE NUMBER:               1:17-CR-00101-LEK-1
 CASE NAME:                 USA v. Anthony T. Williams
 ATTYS FOR PLA:             Kenneth M. Sorenson
                            Gregg Paris Yates
 ATTYS FOR DEFT:            Anthony T. Williams, Pro Se
                            Lars R. Isaacson(stand-by counsel)


       JUDGE:        Leslie E. Kobayashi               REPORTER:       Debra Read

       DATE:         2/3/2020                          TIME:           10:15am-1:50pm
                                                                       2:30pm-4:00pm


COURT ACTION: EP : Jury Selection/Trial as to Defendant Anthony T. Williams.

Defendant Anthony T. Williams present, in custody.

84 Prospective Jurors present.

A panel of 12 Jurors and 2 Alternates selected.

Defendant raises Batson challenges as to the apparent lack of African-American and Hispanic in
the prospective jury pool. Objection DENIED. Defendant did not raise any other objections.

No further objection to the manner in which this jury was selected, nor to the makeup of the
panel.

Parties are satisfied with this panel. Jurors sworn.

Court preliminarily instructs the Jurors.

Jurors excused.

Further Jury Trial set for 2/4/2020 @8:20 a.m. before the before the Honorable Leslie E.
Kobayashi.

Defendant remanded to the custody of the United States Marshal Service.

Submitted by: Theresa Lam, Courtroom Manager
